(1 of 43), Page 1 of 43      Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 1 of 43




                                                    No. 24-3188


                             IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT


                                           MI FAMILIA VOTA, et al.,

                                                                         Plaintiffs-Appellees,
                                                             vs.
                                             ADRIAN FONTES, et al.,

                                                                        Defendants-Appellees,
                                                         and

                                          WARREN PETERSEN, et al.,

                                                                    Intervenor-Defendants-Appellants.


                  On Appeal from the United States District Court for the District of Arizona
                                          Hon. Susan R. Bolton
                               Case No. 2:22-cv-00509-SRB (Consolidated)


                EMERGENCY MOTION UNDER CIRCUIT RULE 27-3 FOR PARTIAL
                        STAY OF INJUNCTION PENDING APPEAL
                           RELIEF NEEDED BY JULY 16, 2024


                      Tyler Green (UT Bar # 10660)                  Kory Langhofer (AZ Bar # 024722)
                   Gilbert C. Dickey (VA Bar # 98858)               Thomas Basile (AZ Bar # 031150)
                      CONSOVOY MCCARTHY PLLC                                STATECRAFT PLLC
                       1600 Wilson Blvd., Ste. 700                 649 North Fourth Avenue, First Floor
                           Arlington, VA 22209                            Phoenix, Arizona 85003
                              (703) 243-9423                                  (602) 382-4078
               Attorneys for Appellant Republican National     Attorneys for Appellants Republican National
                                Committee                       Committee, Warren Petersen and Ben Toma
(2 of 43), Page 2 of 43     Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 2 of 43




                                  CIRCUIT RULE 27-3 CERTIFICATE

                    Intervenor-Defendant Appellants Warren Petersen, in his official capacity as

             President of the Arizona State Senate, Ben Toma, in his official capacity as the

             Speaker of the Arizona House of Representatives, and the Republican National

             Committee, by and through undersigned counsel, certify the following information

             pursuant to Circuit Rule 27-3(c):

               I. Contact Information for All Parties

             Appellants Arizona State Senate President Warren Petersen and Speaker of the
             Arizona House of Representatives Ben Toma:

             Kory Langhofer
             Thomas Basile
             STATECRAFT PLLC
             649 North Fourth Avenue, Suite B
             Phoenix, AZ 85003
             602-382-4078
             Email: kory@statecraftlaw.com
             Email: tom@statecraftlaw.com

             Appellant Republican National Committee:

             Tyler Green
             Gilbert C. Dickey
             CONSOVOY MCCARTHY PLLC
             1600 Wilson Blvd., Suite 700
             Arlington, VA 22209
             703-243-9423
             Email: tyler@consovoymccarthy.com
             Email: gilbert@consovoymccarthy.com

             Kory Langhofer
             Thomas Basile
             STATECRAFT PLLC

                                                       i
(3 of 43), Page 3 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 3 of 43




             649 North Fourth Avenue, Suite B
             Phoenix, AZ 85003
             602-382-4078
             Email: kory@statecraftlaw.com
             Email: tom@statecraftlaw.com

             Appellees Mi Familia Vota and Voto Latino:

             Daniel Arellano
             Austin Marshall
             Jillian Andrews
             Roy Herrera, Jr.
             HERRERA ARELLANO LLP
             1001 N Central Ave., Ste. 404
             Phoenix, AZ 85004-1500
             602-567-4820
             Email: austin@ha-firm.com
             Email: daniel@ha-firm.com
             Email: jillian@ha-firm.com
             Email: roy@ha-firm.com

             Christopher D. Dodge
             Daniela Lorenzo
             Elisabeth C. Frost
             Marc E. Elias
             Qizhou Ge
             ELIAS LAW GROUP LLP
             250 Massachusetts Ave NW, Ste. 400
             Washington, DC 20001
             202-968-4513
             202-968-4498
             Email: cdodge@elias.law
             Email: dlorenzo@elias.law
             Email: efrost@elias.law
             Email: melias@elias.law
             Email: age@elias.law




                                                     ii
(4 of 43), Page 4 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 4 of 43




             Appellees Living United for Change in Arizona, League of United Latin
             American Citizens, Arizona Students’ Association, ADRC Action, Inter Tribal
             Council of Arizona, Inc., San Carlos Apache Tribe, and Arizona Coalition for
             Change:

             Alexander Bennett Ritchie
             SAN CARLOS APACHE TRIBE - OFFICE OF THE ATTORNEY GENERAL
             PO Box 40
             San Carlos, AZ 85550
             928-475-3344
             Email: alex.ritchie@scat-nsn.gov

             Ben Clements
             Courtney Hostetler
             John C Bonifaz
             FREE SPEECH FOR PEOPLE
             48 N Pleasant St., Ste. 304
             Amherst, MA 01002
             617-943-1803
             Email: bclements@freespeechforpeople.org
             Email: chostetler@freespeechforpeople.org
             Email: jbonifaz@freespeechforpeople.org

             Daniel T Fenske
             MAYER BROWN LLP
             71 S Wacker Dr.
             Chicago, IL 60606
             312-701-8926
             Email: DFenske@mayerbrown.com

             Danielle Marie Lang
             Jonathan Diaz
             Molly Danahy
             Robert Brent Ferguson
             CAMPAIGN LEGAL CENTER
             1101 14th St. NW, Ste. 400
             Washington, DC 20005
             202-736-2200
             Email: dlang@campaignlegalcenter.org
             Email: jdiaz@campaignlegal.org

                                                    iii
(5 of 43), Page 5 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 5 of 43




             Email: mdanahy@campaignlegalcenter.org
             Email: bferguson@campaignlegalcenter.org

             Gary A Isaac
             William Joseph McElhaney, III
             MAYER BROWN LLP
             71 S Wacker Dr.
             Chicago, IL 60606
             312-701-7025
             Email: gisaac@mayerbrown.com
             Email: WMcElhaney@mayerbrown.com

             James Evans Barton, II
             BARTON MENDEZ SOTO PLLC
             401 W Baseline Rd., Ste, 205
             Tempe, AZ 85283
             480-550-5165
             Email: james@bartonmendezsoto.com

             Lee H. Rubin
             MAYER BROWN LLP
             2 Palo Alto Sq Ste 300
             3000 El Camino Real
             Palo Alto, CA 94306-2112
             650-331-2037
             Email: lrubin@mayerbrown.com

             Rachel J. Lamorte
             MAYER BROWN LLP
             1999 K St. NW
             Washington, DC 20006
             202-263-3262
             Email: rlamorte@mayerbrown.com

             Appellee United States of America:

             Jennifer J. Yun
             US DEPT OF JUSTICE - VOTING - M STREET
             4 Constitution Square
             150 M St. NE

                                                    iv
(6 of 43), Page 6 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 6 of 43




             Washington, DC 20503
             202-305-5533
             Email: Jennifer.Yun@usdoj.gov

             Richard Dellheim
             Margaret Turner
             Sejal Jhaveri
             Tamar Hagler
             US DEPT OF JUSTICE - CIVIL RIGHTS DIV, VOTING SECTION
             950 Pennsylvania Ave. NW
             Washington, DC 20530
             202-353-5724
             Email: richard.dellheim@usdoj.gov
             Email: margaret.m.turner@usdoj.gov
             Email: sejal.jhaveri@usdoj.gov
             Email: tamar.hagler@usdoj.gov

             Appellees Poder Latinx, Chicanos Por La Causa, and Chicanos Por La Causa
             Action Fund:

             Andrew Hirschel
             Leah R Novak
             ARNOLD & PORTER KAYE SCHOLER LLP
             250 W 55th St.
             New York, NY 10019
             212-836-8000
             Email: andrew.hirschel@arnoldporter.com
             Email: leah.novak@arnoldporter.com

             Beauregard William Patterson
             Jonathan Sherman
             Michelle Kanter Cohen
             FAIR ELECTIONS CENTER
             1825 K St. NW, Ste. 701
             Washington, DC 20006
             202-331-0114
             Email: bpatterson@fairelectionscenter.org
             Email: jsherman@fairelectionscenter.org
             Email: mkantercohen@fairelectionscenter.org



                                                    v
(7 of 43), Page 7 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 7 of 43




             Daniel Jay Adelman
             ARIZONA CENTER FOR LAW IN THE PUBLIC INTEREST
             352 E Camelback Rd., Ste. 200
             Phoenix, AZ 85012
             602-258-8850
             Email: danny@aclpi.org

             Erica Elaine McCabe
             Jeremy Karpatkin
             John A Freedman
             Leah Motzkin
             ARNOLD & PORTER KAYE SCHOLER LLP
             601 Massachusetts Ave. NW, Ste. 1000
             Washington, DC 20001
             202-942-5000
             Email: erica.mccabe@arnoldporter.com
             Email: jeremy.karpatkin@arnoldporter.com
             Email: john.freedman@arnoldporter.com
             Email: leah.motzkin@arnoldporter.com

             Appellees Democratic National Committee and Arizona Democratic Party:

             Christopher E. Babbitt
             Daniel S. Volchok
             Seth P. Waxman
             Britany Riley-Swanbeck
             WILMER CUTLER PICKERING HALE & DORR LLP
             2100 Pennsylvania Ave. NW
             Washington, DC 20037
             202-663-6000
             Email: britany.riley-swanbeck@wilmerhale.com
             Email: christopher.babbitt@wilmerhale.com
             Email: daniel.volchok@wilmerhale.com
             Email: seth.waxman@wilmerhale.com

             Kelsey Quigley
             WILMER CUTLER PICKERING HALE & DORR LLP
             2600 El Camino Real, Ste. 400
             Palo Alto, CA 94306
             650-600-5031

                                                    vi
(8 of 43), Page 8 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 8 of 43




             Email: kelsey.quigley@wilmerhale.com

             Bruce Edward Samuels
             Jennifer Soo Jung Lee-Cota
             PAPETTI SAMUELS WEISS MCKIRGAN LLP
             16430 N Scottsdale Rd., Ste. 290
             Scottsdale, AZ 85254
             480-800-3530
             Email: bsamuels@pswmlaw.com
             Email: jleecota@pswmlaw.com

             Appellee Arizona Asian American Native Hawaiian And Pacific Islander For
             Equity Coalition:

             Amit Makker
             Catherine Anne Rizzoni
             Evan Omi
             John H. Steinbach
             Jordan Mundell
             Sadik Huseny
             Scott Kanchuger
             LATHAM & WATKINS LLP
             505 Montgomery St., Ste. 2000
             San Francisco, CA 94111
             415-391-0600
             Email: amit.makker@lw.com
             Email: cat.rizzoni@lw.com
             Email: evan.omi@lw.com
             Email: john.steinbach@lw.com
             Email: jordan.mundell@lw.com
             Email: sadik.huseny@lw.com
             Email: scott.kanchuger@lw.com

             Andrew Mark Federhar
             SPENCER FANE LLP
             2415 E Camelback Rd., Ste. 600
             Phoenix, AZ 85016-4251
             602-333-5430
             Email: afederhar@spencerfane.com



                                                    vii
(9 of 43), Page 9 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 9 of 43




             Niyati Shah
             Terry Ao Minnis
             ASIAN AMERICANS ADVANCING JUSTICE - AAJC
             1620 L St. NW, Ste. 1050
             Washington, DC 20036
             202-296-2300
             Email: nshah@advancingjustice-aajc.org
             Email: tminnis@advancingjustice-aajc.org

             Appellees Promise Arizona and Southwest Voter Registration Education
             Project:

             Daniel R. Ortega, Jr.
             ORTEGA LAW FIRM PC
             361 E Coronado Rd., Ste. 101
             Phoenix, AZ 85004-1525
             602-386-4455
             Email: danny@ortegalaw.com

             Erika Cervantes
             Ernest Israel Herrera
             MEXICAN AMERICAN LEGAL DEFENSE AND EDUCATIONAL FUND
             634 S Spring St., 11th Fl.
             Los Angeles, CA 90014
             213-629-2512
             Email: ecervantes@maldef.org
             Email: eherrera@maldef.org

             Appellees Tohono O’odham Nation, Gila River Indian Community, Keanu
             Stevens, Alanna Siquieros, and LaDonna Jacket:

             Allison Neswood
             Jacqueline De Leon
             Matthew L. Campbell
             Michael Stephen Carter
             NATIVE AMERICAN RIGHTS FUND
             250 Arapahoe Ave
             Boulder, CO 80302
             303-447-8760
             Email: neswood@narf.org

                                                   viii
(10 of 43), Page 10 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 10 of 43




             Email: jdeleon@narf.org
             Email: mcampbell@narf.org
             Email: carter@narf.org

             Samantha Blencke Kelty
             NATIVE AMERICAN RIGHTS FUND
             950 F. Street NW, Suite 1050
             Washington, D.C. 20004
             202-785-4166
             Email: kelty@narf.org

             David B. Rosenbaum
             Joshua J. Messer
             OSBORN MALEDON, PA
             2929 N Central Ave., 21st Fl.
             Phoenix, AZ 85012
             602-640-9000
             Email: drosenbaum@omlaw.com

             Ezra D. Rosenberg
             Ryan Snow
             LAWYERS COMMITTEE FOR CIVIL RIGHTS UNDER LAW
             1500 K St. NW., Ste. 900
             Washington, DC 20005
             202-662-8600
             Email: erosenberg@lawyerscommittee.org
             Email: rsnow@lawyerscommittee.org

             Howard Marc Shanker
             Marissa L. Sites
             TOHONO O’ODHAM NATION
             P.O. Box 830
             Sells, AZ 85634
             520-383-3410
             Email: howard.shanker@tonation-nsn.gov
             Email: marissa.sites@tonation-nsn.gov
             *Representing Tohono O’odham Nation Only

             Javier G. Ramos
             Gila River Indian Community - Sacaton, AZ

                                                      ix
(11 of 43), Page 11 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 11 of 43




             P.O. Box 97
             Sacaton, AZ 85147
             520-562-9760
             Email: javier.ramos@gric.nsn.us
             *Representing Gila River Indian Community Only

             Appellee Adrian Fontes, Arizona Secretary of State:

             Craig Alan Morgan
             Jake Tyler Rapp
             Shayna Gabrielle Stuart
             SHERMAN & HOWARD LLC
             2555 E Camelback Rd., Ste 1050
             Phoenix, AZ 85016
             602-240-3062
             Email: cmorgan@shermanhoward.com
             Email: jrapp@shermanhoward.com
             Email: sstuart@shermanhoward.com

             Appellees State of Arizona, Arizona Department of Transportation Director
             Jennifer Toth, and Attorney General Kris Mayes:

             Joshua D. Bendor
             Joshua M. Whitaker
             Kathryn E. Boughton
             Hayleigh S. Crawford
             ARIZONA ATTORNEY GENERAL’S OFFICE
             2005 N Central Ave.
             Phoenix, AZ 85004
             602-542-8958
             Email: joshua.bendor@azag.gov
             Email: joshua.whitaker@azag.gov
             Email: kathryn.boughton@azag.gov
             Email: hayleigh.crawford@azag.gov

             Appellee Larry Noble, Apache County Recorder:

             Celeste M. Robertson
             APACHE COUNTY ATTORNEY’S OFFICE
             P.O. Box 637

                                                       x
(12 of 43), Page 12 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 12 of 43




             Saint Johns, AZ 85936
             928-337-7560
             Email: crobertson@apachecountyaz.gov

             Appellee David W. Stevens, Cochise County Recorder:

             Christine Joyce Roberts
             COCHISE COUNTY ATTORNEY’S OFFICE
             P.O. Box CA
             Bisbee, AZ 85603
             520-432-8754
             Email: croberts@cochise.az.gov

             Paul Correa
             CORREA LAW FIRM
             10410 SW Bank Rd.
             Vashon, WA 98070
             520-395-9462
             Email: pc@pcorrea.org

             Appellee Patty Hansen, Coconino County Recorder:

             Rose Marie Winkeler
             FLAGSTAFF LAW GROUP
             702 N Beaver St.
             Flagstaff, AZ 86001
             928-233-6800
             Email: rose@flaglawgroup.com

             Appellee Sadie Jo Bingham, Gila County Recorder:

             Brad Beauchamp
             Jefferson R. Dalton
             GILA COUNTY ATTORNEY’S OFFICE
             1400 E Ash St.
             Globe, AZ 85501
             928-402-8630
             Email: bbeauchamp@gilacountyaz.gov
             Email: jdalton@gilacountyaz.gov



                                                      xi
(13 of 43), Page 13 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 13 of 43




             Appellee Polly Merriman, Graham County Recorder:

             Jean Anne Roof
             GRAHAM COUNTY ATTORNEY’S OFFICE
             800 W Main St.
             Safford, AZ 85546
             928-428-3620
             Email: jroof@graham.az.gov

             Appellee Sharie Milheiro, Greenlee County Recorder:

             Gary Griffith
             Jeremy Ford
             GREENLEE COUNTY ATTORNEY’S OFFICE
             P.O. Box 1717
             Clifton, AZ 85533-1717
             928-865-4108
             Email: ggriffith@greenlee.az.gov
             Email: sadams@greenlee.az.gov

             Appellee Richard Garcia, La Paz County Recorder:

             Jason William Mitchell
             Ryan Norton Dooley
             LA PAZ COUNTY ATTORNEY’S OFFICE
             1320 Kofa Ave.
             Parker, AZ 85344
             928-669-6118
             Email: jmitchell@lapazcountyaz.org
             Email: rdooley@lapazcountyaz.org

             Appellee Stephen Richer, Maricopa County Recorder:

             Anna Griffin Critz
             Jack L O’Connor, III
             Joseph Eugene LaRue
             MARICOPA COUNTY ATTORNEY’S OFFICE
             225 W Madison St.
             Phoenix, AZ 85003
             602-506-8541

                                                      xii
(14 of 43), Page 14 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 14 of 43




             Email: critza@mcao.maricopa.gov
             Email: oconnorj@mcao.maricopa.gov
             Email: laruej@mcao.maricopa.gov

             Appellee Kristi Blair, Mohave County Recorder:

             Ryan Henry Esplin
             MOHAVE COUNTY ATTORNEY’S OFFICE
             P.O. Box 7000
             Kingman, AZ 86402-7000
             928-753-0770
             Email: EspliR@mohave.gov

             Appellee Michael Sample, Navajo County Recorder:

             Jason S. Moore
             NAVAJO COUNTY ATTORNEY’S OFFICE
             P.O. Box 668
             Holbrook, AZ 86025
             928-524-4307
             Email: jason.moore@navajocountyaz.gov

             Appellee Gabriella Cazares-Kelly, Pima County Recorder:

             Daniel S. Jurkowitz
             PIMA COUNTY ATTORNEY’S OFFICE
             32 N Stone Ave., Ste. 2100
             Tucson, AZ 85701
             520-740-5750
             Email: Daniel.Jurkowitz@pcao.pima.gov

             Appellee Dana Lewis, Pinal County Recorder:

             Craig Charles Cameron
             PINAL COUNTY ATTORNEY’S OFFICE
             P.O. Box 887
             Florence, AZ 85132
             520-866-6466
             Fax: 520-866-6521
             Email: craig.cameron@pinal.gov

                                                      xiii
(15 of 43), Page 15 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 15 of 43




             Appellee Anita Moreno, Santa Cruz County Recorder:

             Christina Estes-Werther
             Justin Scott Pierce
             PIERCE COLEMAN PLLC
             7730 E Greenway Rd., Ste. 105
             Scottsdale, AZ 85260
             602-772-5506
             Email: christina@piercecoleman.com
             Email: justin@piercecoleman.com

             Kimberly Janiece Hunley
             William Moran, II
             SANTA CRUZ COUNTY ATTORNEY
             2150 N Congress Dr., Ste. 201
             Nogales, AZ 85621-1090
             520-375-7780
             Email: khunley@santacruzcountyaz.gov
             Email: wmoran@santacruzcountyaz.gov

             Appellee Michelle Burchill, Yavapai County Recorder:

             Thomas M. Stoxen
             Michael James Gordon
             YAVAPAI COUNTY ATTORNEY’S OFFICE
             255 E Gurley St.
             Prescott, AZ 86301
             928-554-8725
             Email: michael.gordon@yavapaiaz.gov
             Email: thomas.stoxen@yavapaiaz.gov

             Appellee Richard Colwell, Yuma County Recorder:

             William J Kerekes
             OFFICE OF THE YUMA COUNTY ATTORNEY
             250 W 2nd St., Ste. G
             Yuma, AZ 85364
             928-817-4300
             Email: bill.kerekes@yumacountyaz.gov

                                                      xiv
(16 of 43), Page 16 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 16 of 43




              II. Existence and Nature of the Claimed Emergency

                    The Appellants seek an emergency stay of the district court’s injunction

             against the implementation or enforcement of statutes duly enacted by the Arizona

             Legislature to set qualifications to vote for presidential electors, see U.S. Const. art.

             II, § 1, and to exercise the privilege of voting by mail, see U.S. Const. art. IV, § 4,

             in the general election that will occur on November 5, 2024.

                    In 2022, the Arizona Legislature adopted and the Governor signed House Bill

             2492 (codified at 2022 Ariz. Laws ch. 99) and House Bill 2243 (codified at 2022

             Ariz. Laws ch. 370), which made various changes to Arizona’s voter registration

             laws. The Plaintiffs-Appellees initiated civil actions challenging certain of these

             provisions, and the district court consolidated the cases into a single proceeding.

             Both laws became fully effective by January 1, 2023. Among other things, H.B. 2492

             (1) requires county recorders, who are responsible for processing voter registrations,

             to reject Arizona’s state-specific voter registration form (“State Form”) submissions

             that lack documentary proof of citizenship, (2) prohibits voters who have not

             provided documentary proof of citizenship from voting in presidential elections, and

             (3) prohibits voters who have not provided documentary proof of citizenship from

             voting by mail.

                    On September 14, 2023, the district court granted partial summary judgment

             in favor of Plaintiff-Appellees. See Dkt. 534. It held that the National Voter

                                                        xv
(17 of 43), Page 17 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 17 of 43




             Registration Act of 1993, 52 U.S.C. § 20501, et seq., preempted H.B. 2492 to the

             extent H.B. 2492 prohibits voters who lacked documentary proof of citizenship from

             voting for president or by mail. The district court further concluded that State Form

             submissions that are not accompanied by documentary proof of citizenship must be

             processed in accordance with a consent decree entered into by the Arizona Secretary

             of State and Maricopa County Recorder in League of United Latin American Citizens

             of Arizona v. Reagan, No. 2:17-cv-04102-DGC (D. Ariz.), Doc. 37 (Jun. 18, 2018)

             (the “LULAC Consent Decree”). If a county recorder receives a voter registration

             application that lacks documentary proof of citizenship, the LULAC Consent Decree

             requires him or her to search the Arizona Department of Transportation database,

             and if proof of citizenship corresponding to the applicant can be located, the

             applicant must be registered as a full-ballot voter. If the applicant’s citizenship status

             cannot be determined, he or she will be registered to vote only in federal elections.

                    On October 10, 2023, the Appellants moved that the district court convert its

             summary judgment rulings into a partial final judgment, pursuant to Federal Rule of

             Civil Procedure 54(b), so that the Appellants could seek immediate review of those

             rulings well in advance of the 2024 elections. Dkt. 665. The district court denied the

             motion on March 7, 2024, five months after the motion was filed and approximately

             three months after trial on the Plaintiff-Appellees’ remaining claims had concluded.

             Dkt. 710. The district court entered a final judgment pursuant to Federal Rule of



                                                        xvi
(18 of 43), Page 18 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 18 of 43




             Civil Procedure 54(c) on May 2, 2024, which enjoined the relevant provisions of

             H.B. 2492 from being implemented or enforced in connection with the upcoming

             general election on November 5, 2024. Dkt. 720.

                    On May 17, 2024, the Appellants moved the district court pursuant to Federal

             Rule of Civil Procedure 62(d) to stay pending appeal its injunction against those

             provisions of H.B. 2492 that (1) prohibit voter who lacked documentary proof of

             citizenship from voting for president, (2) prohibit voter who lacked documentary

             proof of citizenship from voting by mail, or (3) are inconsistent with the LULAC

             Consent Decree. Dkt. 730. The Secretary of State, the Attorney General, and those

             Plaintiff-Appellees who had brought claims to which the motion related opposed the

             requested stay. Dkt. 732, 733, 737, 738. The Appellants waived their right to file a

             reply brief and requested a ruling by June 14, 2024. Dkt. 744. To date, the district

             court has neither ruled on the motion nor indicated when it may do so.

             III. Timing of the Motion

                    Before seeking relief in this Court, Appellants first requested a stay from the

             district court, as FRAP 8(a)(1)(A) required them to do. Desiring to obtain appellate

             review of the issues presented in this Motion well in advance of the 2024 general

             election, the Appellants moved the district court in October 2023 to enter an

             appealable partial final judgment, which the district court denied. Dkt. 665, 710.




                                                      xvii
(19 of 43), Page 19 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 19 of 43




             Appellants accordingly had no feasible procedural mechanism for seeking appellate

             review prior to the district court’s entry of final judgment on May 2, 2024. Dkt. 720.

             IV. Notice to the Parties

                    The undersigned notified the parties’ respective counsel of the impending

             filing of this Motion by email on June 25, 2024, at 8:24 a.m., Arizona time.

                    The Motion will be served electronically on all counsel of record via CM/ECF

             and by email.

              V. District Court Proceedings

                    The Appellants filed a motion for a partial stay of the district court’s

             injunction pending appeal on May 17, 2024. Dkt. 730. The Secretary of State, the

             Attorney General, and those Plaintiff-Appellees who had brought claims to which

             the motion related opposed the requested stay. Dkt. 732, 733, 737, 738. Despite the

             Appellants’ request for a ruling by June 14, 2024, the district court has not taken any

             action with respect to the motion.

                                                      ***
             Dated: June 25, 2024.


                                                       /s/Thomas Basile
                                                       Thomas Basile
                                                       Counsel for Appellants




                                                      xviii
(20 of 43), Page 20 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 20 of 43




                 EMERGENCY MOTION FOR PARTIAL STAY PENDING APPEAL

                    Pursuant to Fed. R. App. P. 8(a)(2), Appellants President of the Arizona State

             Senate Warren Petersen, Speaker of the Arizona House of Representatives Ben

             Toma (together, the “Legislative Leaders”), and the Republican National Committee

             respectfully move that the Court stay pending appeal the permanent injunction

             entered by the district court1 to the extent it prevents any implementation or

             enforcement of Arizona statutes that:

                 1. prohibit individuals who have not provided documentary proof of citizenship

                    (“DPOC”) from voting for the office of President of the United States, see

                    Ariz. Rev. Stat. §§ 16-121.01(E), 16-127(A)(1),

                 2. prohibit individuals who have not provided DPOC from casting a ballot in any

                    election by mail, see Ariz. Rev. Stat. §§ 16-121.01(E), 16-127(A)(2), or

                 3. require county recorders to reject registration applications on the Arizona

                    state-specific voter registration form (the “State Form”) that lack DPOC, see

                    Ariz. Rev. Stat. §§ 16-121.01(A), (C), rather than attempt to independently

                    verify the citizenship status of such applicants, pursuant to a consent decree

                    approved by the Secretary of State in League of United Latin American




             1
               Appellants seek relief from the district court’s injunction only in connection with
             the November 5, 2024 general election and other subsequent elections.

                                                       1
(21 of 43), Page 21 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 21 of 43




                    Citizens of Arizona v. Reagan, No. 2:17-cv-04102-DGC (D. Ariz.), Doc. 37

                    (Jun. 18, 2018) (“LULAC Consent Decree”) [attached as Exhibit C].

                                                 INTRODUCTION

                    The U.S. Constitution lodges exclusively in the Arizona Legislature the

             authority to prescribe the substantive qualifications necessary to participate in the

             selection of the State’s presidential electors. See U.S. Const. art. II, § 1, cl. 2. The

             determination of whether and under what circumstances individuals may exercise

             the privilege of voting by mail in federal elections likewise is entrusted to the

             Arizona Legislature, unless and until Congress directs otherwise. See U.S. Const.

             art. I, § 4, cl. 1. In finding that the National Voter Registration Act, 52 U.S.C. §

             20501, et seq. (“NVRA”) could preempt Arizona’s authority to set the qualifications

             to vote in presidential elections and did in fact displace Arizona’s voting-by-mail

             strictures, the district court erred twice. Finally, the district court’s conclusion that

             the LULAC Consent Decree could perpetually constrain the lawmaking functions of

             the Arizona Legislature not only improperly upends the structure of sovereignty

             within Arizona state government, but collides with the truism that “state-developed

             [voter registration] forms may require information the Federal Form does not.”

             Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 12 (2013) (“ITCA”).




                                                        2
(22 of 43), Page 22 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 22 of 43




                    To preserve Arizona’s ability to protect the integrity of its elections pending

             the Court’s final disposition of these consequential questions, the Court should stay

             the district court’s injunction in part.

                              FACTUAL BACKGROUND & PROCEDURAL HISTORY

                    For nearly twenty years, Arizona has required new voters to provide

             documentary proof of citizenship as a condition of eligibility to vote in state and

             local elections. Because Arizona has since 1996 required applicants for driver’s

             licenses or other state-issued photo IDs to prove their lawful presence in the United

             States and the Arizona Department of Transportation (“ADOT”) maintains such

             documentation on file, many registrants can satisfy the DPOC requirement simply

             by providing on their registration form a current Arizona driver license or state ID

             number. See Ariz. Rev. Stat. § 16-166(F)(1). Other acceptable forms of DPOC

             include a birth certificate, U.S. passport, certificate of naturalization, and certain

             tribal documents. See id. § 16-166(F)(2)-(6).

                    The Supreme Court held in ITCA that the NVRA prohibits Arizona from

             requiring DPOC when individuals register to vote using the form promulgated by

             the Election Assistance Commission (the “Federal Form”). See 570 U.S. at 20.

             Arizona accordingly has mandated the provision of DPOC only for applicants who

             use the State Form; Federal Form registrants whose citizenship status cannot be

             verified are registered with a “Federal Only” designation that permits them to vote



                                                        3
(23 of 43), Page 23 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 23 of 43




             only in elections for federal office. As of July 2023, there were 19,439 active

             registered “Federal Only” voters. Dkt. 709 at 2.

                    In 2018, the then-Secretary of State entered into the LULAC Consent Decree,

             which provided that when a State Form submission is not accompanied by DPOC,

             the county recorder must search ADOT records in an attempt to ascertain the

             applicant’s citizenship. If citizenship can be confirmed, the applicant is registered as

             a full-ballot voter; if it cannot be confirmed, the applicant is registered as a “Federal

             Only” voter. Dkt. 709 at 4-5.

                    In 2022, the Legislature adopted House Bill 2492, which, in relevant part, (1)

             requires county recorders to reject State Form submissions that lack DPOC, and (2)

             prohibits Federal Only voters from participating in presidential elections or voting

             by mail. See Ariz. Rev. Stat. §§ 16-121.01(A), (C), (E), 16-127(A). The United

             States and several plaintiff organizations alleged that the NVRA preempted these

             provisions. Other components of H.B. 2492 and companion legislation, House Bill

             2243, were also challenged by various plaintiffs under the Fourteenth and Fifteenth

             Amendments, the Civil Rights Act of 1964, and the Voting Rights Act of 1965. The

             district court consolidated the actions. Dkt. 39, 69, 88, 93, 164, 193.

                    On September 14, 2023, the district court ruled on cross-motions for partial

             summary judgment that the NVRA prohibits Arizona from restricting Federal Only

             voters’ participation in presidential elections or ability to vote by mail, and that



                                                        4
(24 of 43), Page 24 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 24 of 43




             Arizona must continue processing State Form submissions that lack DPOC in

             conformance with the LULAC Consent Decree. Dkt. 534 at 9-15, 21, 32-33 [Exhibit

             B]. On October 10, 2023, Appellants moved that the district court convert these

             rulings into an appealable judgment under Rule 54(b), which the court denied on

             March 7, 2024. Dkt. 665, 710. The district court issued post-trial findings and

             conclusions on February 29, 2024 (Dkt. 709), and entered a final judgment on May

             2, 2024. Dkt. 720 [Exhibit A]. The Appellants sought a partial stay of the district

             court’s injunction on May 17, 2024. Dkt. 730. To date, the district court has not acted

             on the motion.

                                            STANDARD OF REVIEW

                    When weighing a stay application, the Court must consider “four factors: ‘(1)

             whether the stay applicant has made a strong showing that he is likely to succeed on

             the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)

             whether issuance of the stay will substantially injure the other parties interested in

             the proceeding; and (4) where the public interest lies.’” Nken v. Holder, 556 U.S.

             418, 434 (2009) (citation omitted); see also Duncan v. Bonta, 83 F.4th 803, 805 (9th

             Cir. 2023). “The first two factors . . . are the most critical.” Nken, 556 U.S. at 434;

             see also Leiva-Perez v. Holder, 640 F.3d 962, 966, 968 (9th Cir. 2011) (under this

             “flexible approach,” an applicant must show “a substantial case for relief on the




                                                       5
(25 of 43), Page 25 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 25 of 43




             merits,” but not necessarily “that success is more likely than not”). All four

             considerations recommend a partial stay.

                                                  ARGUMENT

             I.     The Court Is Likely to Find That Neither the NVRA Nor the LULAC
                    Consent Decree Prevents Arizona From Requiring DPOC to Register
                    with the State Form or to Vote for President or by Mail

                    A.      The NVRA Cannot Preempt State Laws Governing Eligibility to
                            Vote for Presidential Electors

                    The NVRA applies to federal congressional elections, not to presidential

             elections. The registration rules of the NVRA are classic “Manner” election

             regulations. U.S. Const. art. I, § 4, cl. 1. But Congress has power to regulate the

             “Manner” only of congressional elections—the Constitution does not give Congress

             power to regulate the “Manner” of presidential elections. When it comes to

             presidential elections, Congress has authority only to “determine the Time of

             chusing the Electors, and the Day on which they shall give their Votes.” U.S. Const.

             art II, § 1, cl. 4. Neither Congress nor the courts can constitutionally apply the NVRA

             to presidential elections.

                    The district court ignored the limits of congressional power. It ruled that

             Section 6 of the NVRA—which requires that States “accept and use” the Federal

             Form to register voters in federal elections—also applies to presidential elections.

             Dkt. 534 at 9-12. The Court relied on the text of the NVRA, which it said “reflects

             an intent to regulate all elections for ‘[f]ederal office,’ including for ‘President or


                                                        6
(26 of 43), Page 26 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 26 of 43




             Vice President.’” Dkt. 534 at 10 (quoting 52 U.S.C. § § 20507(a)). That would have

             been the correct starting point if the Constitution had nothing to say on the matter.

             But it does. And because the Constitution is “the supreme Law of the Land,” U.S.

             Const. art. VI, “the preemption analysis” for election laws “must place particular

             importance on the first step in the determination as to whether Congress lawfully

             preempted state law: identifying the enumerated power under which Congress

             claims to have acted.” Tex. Voters All. v. Dallas Cnty., 495 F. Supp. 3d 441, 467

             (E.D. Tex. 2020).

                    “Congress enacted the National Voter Registration Act under the authority

             granted it in [the Elections Clause].” Ass’n of Cmty. Orgs. for Reform Now v. Miller,

             129 F.3d 833, 836 (6th Cir. 1997); see also ICTA, 570 U.S. at 7-8. The Elections

             Clause gives Congress power to regulate “[t]he Times, Places and Manner of holding

             Elections” for “Senators and Representatives.” U.S. Const. art. I, § 4, cl. 1. This

             power to regulate congressional elections is expansive—it gives Congress authority

             “to enact the numerous requirements as to procedure and safeguards.” Smiley v.

             Holm, 285 U.S. 355, 366 (1932). But the Elections Clause does not extend to

             presidential elections.

                    Under the presidential Electors Clause, “Congress may determine the Time of

             chusing the Electors, and the Day on which they shall give their Votes.” U.S. Const.

             art II, § 1, cl. 4. This power to regulate the presidential elections is far more limited.



                                                         7
(27 of 43), Page 27 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 27 of 43




             Congress has power over only the “Time” of choosing presidential electors.

             Congress’s power does not extend to the “Places and Manner” of presidential

             elections, as it does with congressional elections. “That omission is telling,” because

             when the Constitution “includes particular language in one section … but omits it in

             another section,” courts “generally presume[]” the drafters acted “intentionally and

             purposely in the disparate inclusion or exclusion.” Collins v. Yellen, 141 S. Ct. 1761,

             1782 (2021); see Pine Grove Twp. v. Talcott, 86 U.S. 666, 674-75 (1873) (applying

             the rule to constitutional interpretation). The Constitution’s text does not give

             Congress power to regulate the “Places and Manner” of presidential elections.

                    H.B. 2492’s citizenship verification rules do not run afoul of the NVRA.

             Those rules apply only to state elections and federal presidential elections. See Ariz.

             Rev. Stat. § 16-121.01. The NVRA facially applies to elections for “Federal office,”

             52 U.S.C. § 20502(2), which include “the office of President or Vice President,” id.

             § 30101(3). But the NVRA, like every other act of Congress, must be squared with

             the Constitution. And Congress cannot “exceed constitutional limits on the exercise

             of its authority.” Moore v. Harper, 600 U.S. 1, 19 (2023).

                    The district court did not engage with the Constitution’s text because it

             thought that it was bound by precedent. But no court has decided this issue. The

             Supreme Court has never held that Congress possesses power to regulate the “Places

             and Manner” of presidential elections. Instead, one of the precedents relied on by



                                                       8
(28 of 43), Page 28 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 28 of 43




             the district court Burroughs v. United States, 290 U.S. 534 (1934), rested on the

             premise that if the challenged statute did interfere with the “exclusive state power”

             over presidential elections, it would be unconstitutional. Burroughs v. United States,

             290 U.S. 534, 544-45 (1934). Buckley v. Valeo upheld the campaign finance laws

             under the “General Welfare Clause” and “the Necessary and Proper Clause.” 424

             U.S. 1, 90 (1976). But it says nothing about the scope of Congress’s power to

             regulate presidential elections. Other Supreme Court cases confirm that the Electors

             Clause gives “plenary power to the state legislatures in the matter of the appointment

             of electors.” McPherson v. Blacker, 146 U.S. 1, 35 (1892); see also Bush v. Gore,

             531 U.S. 98, 104 (2000) (per curiam) (“[T]he state legislature’s power to select the

             manner for appointing electors is plenary.”).

                    This Court has not deviated from these binding principles. In Voting Rights

             Coalition v. Wilson, the Court considered a challenge to the NVRA based on “[t]hree

             provisions of the Constitution.” 60 F.3d 1411, 1413 (9th Cir. 1995) (citing U.S.

             Const. article I, § 4; article I, § 2; and the Tenth Amendment). The Electors Clause

             was not one of them. The Court cited Burroughs in passing for the proposition that

             the “broad power given to Congress over congressional elections has been extended

             to presidential elections.” Voting Rts. Coal., 60 F.3d at 1414. But this “[d]icta that

             does not analyze the relevant statutory provision cannot be said to have resolved the

             statute’s meaning.” Oklahoma v. Castro-Huerta, 142 S. Ct. 2486, 2498 (2022). A



                                                       9
(29 of 43), Page 29 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 29 of 43




             half-sentence misreading Burroughs is no reason to reject binding Supreme Court

             precedent holding that “the state legislature’s power to select the manner for

             appointing electors is plenary.” Bush, 531 U.S. at 104.

                    B.      The NVRA Does Not Preempt State Laws Governing Mail-In
                            Voting

                    The NVRA does not govern procedures for mail-in voting. By its terms, it sets

             rules governing “procedures to register to vote in elections.” 52 U.S.C. § 20503(a).

             One of those rules is that States must “accept and use” the federal registration form

             “for the registration of voters in elections for Federal office.” Id. § 20505(a). But the

             NVRA says nothing about the mechanisms for mail voting.

                    Despite the NVRA’s express textual limit, the district court extended it

             beyond registration procedures. The court said that the requirement to use the

             Federal Form “for the registration of voters,” id., also reaches Arizona’s requirement

             that residents who wish to vote by mail provide documentary proof of citizenship.

             Dkt. 534 at 12-15.

                    Section 20505(c)(1) does not support the district court’s departure from the

             NVRA’s textual limits. That section clarifies that states can “require a person to vote

             in person if—(A) the person was registered to vote in a jurisdiction by mail; and (B)

             the person has not previously voted in that jurisdiction.” 52 U.S.C. § 20505(c). The

             district court read this provision to mean that those are the only limits that States can

             imposed on absentee voting. No other court has ever adopted that novel

                                                        10
(30 of 43), Page 30 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 30 of 43




             interpretation. After all, on top of disregarding the NVRA’s express limitations, it

             eliminates States’ traditional authority over mail voting. “[V]oting by absentee

             ballot” is a “privilege” that “make[s] voting easier,” not a right secured by the

             Constitution, the NVRA, or any other federal statute. Luft v. Evers, 963 F.3d 665,

             672 (7th Cir. 2020); see also McDonald v. Bd. of Election Comm’rs, 394 U.S. 802,

             809 (1969). Nor is the district court’s approach the best reading of § 20505(c), which

             clarifies that Congress’s provision for mail-in registration for first-time voters does

             not preclude States from requiring in-person voting for first-time voters. This

             reading is confirmed by the provision’s specific guarantee that some voters—those

             “entitled to vote otherwise than in person under any … Federal law”—can vote by

             mail despite first-time voter laws. 52 U.S.C. § 20505(c)(2). This narrow exception

             cannot be read as part of a scheme that wipes out mail-voting rules by implication.

             Arizona thus retains “wide leeway … to enact legislation” governing mail voting.

             McDonald, 394 U.S. at 808

                    The district court’s other argument—that the NVRA aims to increase the

             number of registered voters—fares even worse. See Dkt. 543 at 13-14. The NVRA

             itself explains that it also aimed to “to protect the integrity of the electoral process.”

             52 U.S.C. § 20501(b)(3). Legislative history shows that § 20505(c)(1) focused on

             these “concerns regarding fraud,” and that the provision “demonstrates the concern

             of the Committee that each State should develop mechanisms to ensure the integrity



                                                        11
(31 of 43), Page 31 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 31 of 43




             of the voting rolls.” S. Rep. No. 103-6, at 13 (1993). Arizona’s proof-of-citizenship

             requirements for mail voting do just that. The Supreme Court has recognized that

             “[f]raud is a real risk that accompanies mail-in voting even if Arizona had the good

             fortune to avoid it.” Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2348

             (2021). But the district court emphasized the other statutory goal to stretch

             § 20505(c)(1) beyond its text.

                    C.      The LULAC Consent Decree Cannot Perpetually Constrain the
                            Legislature’s Exercise of Its Sovereign Powers

                    Arizona cannot require Federal Form applicants to provide DPOC as a

             condition of registering to vote in federal elections. ITCA, 570 U.S. at 20. But “state-

             developed forms may require information the Federal Form does not,” and “[t]his

             permission works in tandem with the requirement [in Section 6 of the NVRA] that

             States ‘accept and use’ the Federal Form.” Id. at 12; see also Gonzalez v. Arizona,

             677 F.3d 383, 399 (9th Cir. 2012) (Section 9, which governs the permissible contents

             of the State Form for registering voters in federal elections, “gives a state more

             options” by permitting it to add mandatory informational items beyond those

             included in the Federal Form). Because “determining whether an individual is a

             United States citizen is of paramount importance when determining his or her

             eligibility to vote,” Gonzalez v. Arizona, 435 F. Supp. 2d 997, 1002 (D. Ariz. 2007),

             the NVRA permits Arizona to incorporate a DPOC mandate into its State Form and

             to reject non-compliant registrations.

                                                       12
(32 of 43), Page 32 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 32 of 43




                    The LULAC Consent Decree requires county recorders to attempt to ascertain

             the citizenship status of State Form applicants who do not provide DPOC, and if

             citizenship can be validated, register them as full-ballot voters. Dkt. 709 at 4-5; Exh.

             C. This directive collides with H.B. 2492, which instructs the county recorders to

             “reject any [State Form] application for registration that is not accompanied by

             satisfactory evidence of citizenship.” Ariz. Rev. Stat. § 16-121.01(C).

                    Subordinating the statute to the then-Secretary’s bilateral agreement with

             private litigants inverts Arizona’s construct of sovereignty. The notion that an

             executive officer can irrevocably forfeit any portion of the lawmaking power,

             particularly in the realm of elections, is dissonant with the U.S. Constitution, the

             Arizona Constitution, the relevant case law, and separation of powers precepts. See

             Moore v. Harper, 143 S. Ct. 2065, 2074 (2023) (the “state legislatures” have the

             “‘duty’ to prescribe rules governing federal elections.”); Carson v. Simon, 978 F.3d

             1051, 1060 (8th Cir. 2020) (“[T]he Secretary [of State] has no power to override the

             Minnesota Legislature” by stipulating to the tabulation of absentee ballots received

             after Election Day).

                    And the LULAC Consent Decree itself manifests no such relinquishment. See

             Doe v. Pataki, 481 F.3d 69, 78 (2d Cir. 2007) (“[P]roper regard for state authority

             requires a federal court to have a clear indication that a state has intended to

             surrender its normal authority to amend its statutes.”); Roosevelt Irr. Dist. v. Salt



                                                       13
(33 of 43), Page 33 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 33 of 43




             River Project Agric. Imp. & Power Dist., 39 F. Supp. 3d 1051, 1054-55 (D. Ariz.

             2014) (consent decree did not purport to bind all political subdivisions of the state).

             Regardless, the district court’s jurisdiction to enforce the LULAC Consent Decree

             expired on December 31, 2020. See Exh. C at 16. It follows that “the judgment . . .

             was executed. The case is over.” Taylor v. United States, 181 F.3d 1017, 1023 (9th

             Cir. 1999).2 Even by its own terms, it exerts no ongoing force.

             II.    The Partial Nullification of H.B. 2492 Irreparably Injures the Legislative
                    Intervenors as Representatives of the State and of the Legislative
                    Institution, and Inflicts a Competitive Injury on the RNC

                    A.      The Suspension of Duly Enacted Laws Inflicts Both Sovereign and
                            Institutional Harms

                    The injunction exacts two variants of irreparable injury: one to the State itself

             and one to the legislative institution that the Legislative Intervenors represent.

                            1.    Arizona Law Empowers Legislative Intervenors to Defend the
                                  Constitutionality of Arizona’s Duly Enacted Laws

                    An “injunction[] barring the State from conducting this year’s elections

             pursuant to a statute enacted by the Legislature . . . would seriously and irreparably

             harm the State,” if the statute is ultimately determined to be valid. Abbott v. Perez,



             2
               Central to Taylor’s apprehension of a potential separation of powers problem in
             the congressional termination of an existing consent decree was the fact that the
             judgment at issue “awarded no prospective relief.” 181 F.3d at 1025. Here, the
             Appellants do not wish to “reopen,” id., the Decree or to retroactively nullify voter
             registrations conducted under its auspices. Rather, they seek only a recognition that
             it cannot prospectively prohibit amendments to Arizona statutes.

                                                        14
(34 of 43), Page 34 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 34 of 43




             585 U.S. 579, 602 (2018); see also Maryland v. King, 567 U.S. 1301, 1303 (2012)

             (Roberts, C.J., in chambers) (“[A]ny time a State is enjoined by a court from

             effectuating statutes enacted by representatives of its people, it suffers a form of

             irreparable injury.” (citation omitted)).

                    This axiom of sovereignty—which derives from a confluence of federalism

             protections and separation of powers principles—is not the province of any single

             state actor. To the contrary, “a State is free to ‘empowe[r] multiple officials to defend

             its sovereign interests,” and “the State’s executive branch” does not necessarily

             “hold[] a constitutional monopoly on representing [its] practical interests in court.”’”

             Berger v. N.C. State Conference of the NAACP, 597 U.S. 179, 192, 194 (2022)

             (citation omitted). Rather, federal courts must look to state law to discern the

             dispersion of this authority, and must heed “a State’s chosen means of diffusing its

             sovereign powers among various branches and officials.” Id. at 191. While the

             Attorney General may represent the State’s interests in judicial proceedings, see

             Ariz. Rev. Stat. § 41-193(A)(3), the Arizona Legislature “has also reserved to itself

             some authority to defend state law on behalf of the State.” Berger, 597 U.S. at 194.

                    At least two specific provisions of Arizona law undergird the Legislative

             Leaders’ standing to contest the district court’s suspension of the Legislature’s

             enactments. First, Ariz. Rev. Stat. § 12-1841—which is substantively identical to the

             North Carolina statute that the Supreme Court found “expressly authorized the



                                                         15
(35 of 43), Page 35 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 35 of 43




             legislative leaders to defend the State’s practical interests in litigation,” Berger, 597

             U.S. at 193 (citing N.C. Gen. Stat. Ann. § 1-72.2 (2021))—reserves for the

             Legislative Leaders an “entitle[ment] to be heard,” in any proceeding implicating

             the constitutionality of a state law, to include “interven[ing] as a party” or “fil[ing]

             briefs in the matter.” Ariz. Rev. Stat. § 12-1841(A), (D). The statute embodies

             Arizona’s “policy decision to vest in its legislative leaders an interest in defending

             the constitutionality of the legislature’s enactments” in federal and state courts.

             Isaacson v. Mayes, 2:21-cv-1417, 2023 WL 2403519, at *1 (D. Ariz. Mar. 8, 2023);

             see also Dkt. 535 at 6 (“[T]he Speaker and the President are authorized to defend

             Arizona’s statutes and the Court declines to limit their right to represent the Arizona

             Legislature’s interests”). Because the district court’s partial injunction “implicat[es]

             the constitutionality” of H.B. 2492 in relation to Congress’ and the States’ respective

             powers under the Presidential Electors Clause, see U.S. Const. art. II, § 1, the

             Elections Clause, see id. art. I, § 4, and the Supremacy Clause, see id. art. VI, Arizona

             law expressly entitles the Legislative Leaders to protect the State’s sovereign

             interests by defending the constitutionality of Arizona’s voting laws in federal court.

                    Second, the Arizona Constitution incorporates explicit protections of state

             sovereignty against unconstitutional federal incursion. See Ariz. Const. art. II, § 3.

             The provision affirms that the State may “pursu[e] any . . . available legal remedy”

             to counter perceived unconstitutional federal overreach, and contemplates that “the



                                                        16
(36 of 43), Page 36 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 36 of 43




             people or their representatives [may] exercise” authority to that end. Id. This

             intended bulwark against unlawful federal encroachment is vested collectively in the

             elected branches of Arizona state government. When, as here, a federal court or a

             federal statute truncates powers that arguably are entrusted to the State, legislative

             “representatives” may seek appropriate relief on its behalf.

                            2.    Curtailment of the Legislature’s Authority to Select Presidential
                                  Electors and to Structure Methods of Registration and Voting in
                                  Arizona Elections Irreparably Injures the Institution

                    The Legislative Leaders may seek redress of injuries to the legislative

             institution they represent. An extrinsic constraint on a legislative body’s lawmaking

             functions inflicts a cognizable institutional injury, and the Arizona Legislature has

             inherent autonomy to pursue and defend claims in furtherance of its institutional

             interests and prerogatives. See Ariz. State Legislature v. Ariz. Indep. Redistricting

             Comm’n, 576 U.S. 787, 800 (2015) (Arizona Legislature had standing to bring claim

             that initiative measure “strips the Legislature of its alleged prerogative to initiate

             redistricting”); Forty-Seventh Legislature v. Napolitano, 143 P.3d 1023, 1028 (Ariz.

             2006).

                    The injunction thwarts the Legislature from disallowing individuals who have

             not proved their U.S. citizenship from participating in Arizona’s selection of its

             presidential electors or from utilizing Arizona’s generous mail-in voting option. It

             also elevates the Secretary of State’s improvident promises in the LULAC Consent



                                                       17
(37 of 43), Page 37 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 37 of 43




             decree over the laws of the State. In doing so, the injunction abrogates the Arizona

             Legislature’s constitutional power to prescribe qualifications to vote for presidential

             electors, U.S. Const. art. II, § 1; Carson, 978 F.3d at 1060 (“[W]hen a state

             legislature enacts statutes governing presidential elections, it operates ‘by virtue of

             a direct grant of authority’ under the United States Constitution” (citation omitted)),

             to presumptively determine the “manner” of voting in federal elections, see U.S.

             Const. art. I, § 4 (state “Legislature” may regulate the “manner” of federal elections,

             subject to congressional “alter[ation]”), and to safeguard the purity of all elections

             in Arizona, see Ariz. Const. art. VII, § 12; Priorities USA v. Nessel, 978 F.3d 976,

             981-82 (6th Cir. 2020) (citing parallel provision in Michigan Constitution and

             explaining that, when an election law is enjoined, “[t]he legislature has lost the

             ability to regulate that election in a particular way”).

                    In short, the Arizona Legislature has sustained an injury because its “specific

             powers are disrupted” by the injunction. Id. at 982. The Legislative Leaders may

             seek redress of this harm on the institution’s behalf, as both chambers have adopted

             rules empowering the Legislative Intervenors to “bring or assert in any forum on

             behalf of the[ir houses] any claim or right arising out of any injury to [their houses’]

             powers or duties under the Constitution or Laws of this state.” State of Arizona,

             Senate Rules, 56th Legislature 2023-2024, Rule 2(N), https://bit.ly/3WXFLDv;




                                                        18
(38 of 43), Page 38 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 38 of 43




             State of Arizona, Rules of the Ariz. House of Representatives, 56th Legislature 2023-

             2024, Rule 4(K), https://bit.ly/3HuL9bz.

                    B.      The Injunction Inflicts a Competitive Injury on the RNC

                    In overriding the Legislature’s determination that Federal Only voters may

             not vote for Arizona’s presidential electors or vote by mail, the injunction distorts

             the competitive environment underpinning the 2024 election in a manner that is

             unfavorable to the RNC and Republican candidates. “Competitive standing

             recognizes the injury that results from being forced to participate in an ‘illegally

             structure[d] competitive environment.’” Mecinas v. Hobbs, 30 F.4th 890 898 (9th

             Cir. 2022) (citation omitted); see also Owen v. Mulligan, 640 F.2d 1130, 1132 (9th

             Cir. 1981) (holding that “the potential loss of an election” due to allegedly unlawful

             attributes of the electoral system is an injury). “Voluminous” authority shows that

             candidates and parties suffer injury when their “chances of victory would be

             reduced.” Tex. Democratic Party v. Benkiser, 459 F.3d 582, 587 & n.4 (5th Cir.

             2006) (collecting cases).

                    According to Plaintiffs/Appellees’ own expert, only 14.3% of Federal Only

             voters are registered as members of the Republican Party, while Republicans

             comprise 34.5% of the total active registered voter population in Arizona. See Trial

             Ex. 340, attached as Exhibit D. The judicially mandated inclusion of these

             individuals in the presidential electorate necessarily impairs the relative competitive



                                                        19
(39 of 43), Page 39 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 39 of 43




             position of the Republican presidential nominee. See Mecinas, 30 F.4th at 898

             (“ongoing, unfair advantage conferred to. . . rival candidates” was an injury).3

             III.   The Balance of Equities and Public Policy Support a Partial Stay

                    When, as here, a governmental party seeks a stay, “its interest and harm merge

             with that of the public.” Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir. 2017); see

             also E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 668 (9th Cir. 2021)

             (preliminary injunction context). The administration of the 2024 election in

             accordance with safeguards devised by Arizonans’ elected representatives to limit

             the franchise to verified United States citizens is a public interest of the highest order.

             See Mi Familia Vota v. Hobbs, 977 F.3d 948, 954 (9th Cir. 2020) (“States have ‘an

             interest in protecting the integrity, fairness, and efficiency of their ballots and

             election processes.’” (quoting Timmons v. Twin Cities Area New Party, 520 U.S.

             351, 364 (1997))).

                    There is no countervailing harm that an injunction is necessary to remediate.

             The district court found that “Plaintiffs offered no witness testimony or other

             ‘concrete evidence’ to corroborate that the Voting Laws’ DPOC Requirements will

             in fact impede any qualified elector from registering to vote or staying on the voter

             rolls,” Dkt. 709 at 92, and that “[t]he Voting Laws do not impose an excessive



             3
               See also Priorities USA v. Nessel, 860 Fed. Appx. 419, 421 (6th Cir. 2021) (it
             suffices for just one appellant to demonstrate injury).

                                                         20
(40 of 43), Page 40 of 43    Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 40 of 43




             burden on any specific subgroup of voters,” id. at 95. See A. Philip Randolph

             Institute of Ohio v. LaRose, 831 Fed. App’x 188, 192 (6th Cir. 2020) (concluding

             that stay of order authorizing counties to deploy ballot drop-boxes “is unlikely to

             harm anyone” by preventing them from voting).

                    Finally, the Supreme Court’s admonition against last-minute judicially

             imposed alterations to a state’s election procedures, see Purcell v. Gonzalez, 549

             U.S. 1 (2006), does not apply here. If the district court’s injunction was erroneously

             issued, Purcell is no barrier to appellate intervention. See Merrill v. Milligan, 142 S.

             Ct. 879, 882 (2022) (Mem.) (Kavanaugh, J., concurring) (“Correcting an erroneous

             lower court injunction of a state election law does not itself constitute a Purcell

             problem.”). Indeed, if anything, it is the district court’s injunction—which was

             issued just three months before the primary election and dilutes statutory election

             safeguards—that implicates Purcell concerns. See 549 U.S. at 4 (“Confidence in the

             integrity of our electoral processes is essential to the functioning of our participatory

             democracy.”).

                     And the state and county parties cannot contrive a putative Purcell problem

             by willfully refusing for more than a year to implement duly enacted state laws,

             despite the absence of any court order enjoining their enforcement. Purcell

             encapsulates a maxim of federalism: federal courts should refrain from dictating

             state election procedures in temporal proximity to an election. See Democratic Nat’l



                                                        21
(41 of 43), Page 41 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 41 of 43




             Comm. v. Wis. State Legislature, 141 S. Ct. 28, 31 (2020) (Kavanaugh, J.,

             concurring) (“It is one thing for state legislatures to alter their own election rules in

             the late innings and to bear the responsibility for any unintended consequences. It is

             quite another thing for a federal district court to swoop in and alter carefully

             considered and democratically enacted state election rules when an election is

             imminent.”). If the district court erred in interdicting the implementation of voter

             registration reforms adopted nearly two years ago (and it did), Purcell neither

             requires nor licenses this Court to compound the federal judiciary’s mistaken

             incursion into Arizona’s democratic process.

                                                  CONCLUSION

                    The Court should stay the district court’s injunction pending appeal to the

             extent the injunction prohibits the implementation or enforcement of Arizona

             statutes that (1) restrict Federal Only voters from voting for president; (2) restrict

             Federal Only voters from voting by mail, or (3) are inconsistent with the LULAC

             Consent Decree.




                                                        22
(42 of 43), Page 42 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 42 of 43




              Dated: June 25, 2024                         CONSOVOY MCCARTHY PLLC



                                                        By: /s/ Tyler Green                     .




                                                          Tyler Green
                                                          Gilbert C. Dickey
                                                          CONSOVOY MCCARTHY PLLC
                                                          1600 Wilson Blvd., Ste. 700
                                                          Arlington, VA 22209
                                                          (703) 243-9423
                                                          tyler@consovoymccarthy.com
                                                          gilbert@consovoymccarthy.com

                                                           Attorneys for Appellant Republican
                                                           National Committee


                                                           STATECRAFT PLLC

                                                        By: /s/ Thomas Basile
                                                          Kory Langhofer
                                                          Thomas Basile
                                                          649 North Fourth Avenue
                                                          First Floor
                                                          Phoenix, Arizona 85003
                                                          kory@statecraftlaw.com
                                                          tom@statecraftlaw.com

                                                           Attorneys for Appellants Arizona
                                                           Speaker of the House of
                                                           Representatives Benjamin Toma,
                                                           Arizona Senate President Warren
                                                           Petersen, and Republican National
                                                           Committee




                                                      23
(43 of 43), Page 43 of 43   Case: 24-3188, 06/25/2024, DktEntry: 50.1, Page 43 of 43




                                    CERTIFICATE OF COMPLIANCE
                    This Motion complies with the type-volume limitation of Rule 27(d)(2)(A)

             because it contains 5,191 words, excluding the parts that can be excluded. This

             Motion further complies with the typeface requirements of Rules 27(d)(1)(E) and

             32(a)(5)-(6) because it has been prepared in a proportionally spaced typeface using

             the Microsoft Word in 14-point Times New Roman font.

             Dated: June 25, 2024             /s/ Thomas Basile



                                       CERTIFICATE OF SERVICE

                    I hereby certify that I electronically filed the foregoing with the Clerk of the

             Court for the United States Court of Appeals for the Ninth Circuit by using the

             appellate CM/ECF system on June 25, 2024. Participants in the case who are

             registered CM/ECF users will be served by the appellate CM/ECF system.

             Dated: June 25, 2024             /s/ Thomas Basile




                                                     Cert. 1
